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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF NEW YORK
      MICH AEl AD AMS, individually,

                                                    Case No. 2016--cv-04671 ..LDH...RML

                         Plaintiff,
     v.
     ACT I 0 N BURG ER I NC. d/b/a
     ACTI 0 N BURG ER, a New Yot"k fo1·
     profit business entity, and T.A. M. & N.
     REAL TV, LLC, a New York for profit
     business entity,

                         Defendants.


                  STIPULATION OF DISMISSAL WITH PREJUDICE
           IT IS HEREBY STIPULATED ·AND AGREED pursuant to Rule 4 l(a)(l). of

     the Federal Rules of Civil Procedure, by and among the undersigned counsel, that

     whereas no party hereto is an-infant.or incompetent person for whom committee has

     been appointed or conservatee and no person not a party has an interest in this subject

     matter of the action, that the above entitled action be dismissed with prejudice,

     without costs and attorney's fees to either party as against the other and that ea.oh

     party waives all rights ofappeal with respect to such dismissal.
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             Respectfully submitted o.n January 24, 2017.


        ByL~---._
        Tai-Wehletriades, Esq.
                                                   By: /!~~
                                                   Vlane Carter, Esq.
        Counsel for Plaintiff
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        Oyster Bay, NY 11 771
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                                                                  So Ordered

        By;(~'..i-                         1;r--
                                                               s/ LaShann DeArcy Hall
        Antonio Tulino, Esq.




                                C£RTIFICATE OF SERVICE

             I het'eby certify that a true and correct copy of Stipulation for Dismissal has

       been served via the Court's CM/ECF filing system upon all parties of record on

       January 24, 2017.

                                By: /s/ Tara Demetriades
                                Tara Demetriades, Esq.
                                New York Bar No. 4185666

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